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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

KIMBERLY GODOY

Plaintiff
~ against -
BMW OF NORTH AMERICA, LLC;
BMW MANUFACTURING CO., LLC;
ZF TRW AUTOMOTIVE HOLDINGS
CORP., and AUTOLIV, INC.

Defena'ants.

 

 

CIVIL CASE NO. 2216-CV-05502
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JOINT STIPULATION TO STAY DISCOVERY

Plaintiff KIMBERLY GODOY and Defendant ZF TRW Automotive Holdings Corp. (“ZF

TRW AH”), by and through their attorneys, hereby agree and stipulate as follows:

WHEREAS, on or around June 1, 2017, Plaintiff served ZF TRW AH with her Amended

Complaint in this action;

WHEREAS, ZF TRW AH requested, and was granted, an extension to and including July

7, 2017 to file its responsive pleading to Plaintist Amended Complaint;

WHEREAS, on July 7, 2017, ZF TRW AH filed a Pre-motion conference letter requesting

permission to file a motion to dismiss Plaintiff’s Amended Complaint on the grounds that ZF TRW

AH is not subject to personal jurisdiction in New York;

WHEREAS, on July 25, 2017, District Judge Denis Hurley granted ZF TRW AH’s request

for permission to file a motion to dismiss and set a briefing schedule for the motion;

WHEREAS, on August 25, 2017, ZF TRW AH timely served its motion to dismiss

Plaintiff’s Amended Complaint for lack of personal jurisdiction;

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WHEREAS, on August 28, 2017, the parties to this action appeared for a status conference
before Magistrate Judge Steven Locke;

WHEREAS, at the status conference, Judge Locke issued a Scheduling Order (D.E. 50)
requiring that initial discovery demands be served in the action by October 30, 2017;

WHEREAS, on or around September 6, 2017, Plaintiff filed another Amended Complaint
(D.E. 51) (referred to herein as the “New Amended Complaint”), which included additional
defendants The New Amended Complaint did not include any additional allegations against ZF
TRW AH;

WHEREAS, on September 19, 2017, ZF TRW AH submitted a letter to Judge Hurley

requesting permission to apply its previously served motion to dismiss to the New Amended

 

Complaint and amending the briefing schedule for Plaintiff`s opposition brief and ZF TRW AH’s
reply brief. Judge Hurley granted ZF TRW AH’s request on September 20, 2017 and issued a
revised briefing schedule;

WHEREAS, pursuant to the schedule ordered by Judge Hurley, briefing on ZF TRW AH’s
jurisdictional motion to dismiss was completed and all of the motion papers were filed on October
17, 2017 (D.E. 62, 64, 54);

WHEREAS, on October 27, 2017, ZF TRW AH filed a letter motion with Judge Locke
requesting that discovery against ZF TRW AH be stayed until its pending motion to dismiss has
been ruled upon. Prior to filing its motion, counsel for ZF TRW AH conferred with counsel for

Plaintiff via e-mail regarding its intention to file a motion for a stay, but the parties were unable to

confer telephonically because Plaintiff’ s counsel was in trial;

 

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WHEREAS, on October 30, 2017, counsel for ZF TRW AH and counsel for Plaintiff
conferred by telephone regarding ZF TRW AH’s request for a stay of discovery until the Court
issues its ruling on ZF TRW AH’s motion to dismiss;

WHEREAS, after having reviewed and considered ZF TRW AH’s motion for a stay,
Plaintiff’s counsel agrees that discovery as between Plaintiff and ZF TRW AH should be stayed

until the Court rules on ZF TRW AH’s motion to dismiss and while Plaintiff pursues discovery

 

relevant to his claim against the remaining defendants;

NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
the undersigned attorneys for Plaintiff and ZF TRW AH that all discovery as between Plaintiff and
ZF TRW AH should be stayed until the Court has ruled on ZF TRW AH’s pending motion to
dismiss.

IT IS FURTHER STIPULATED AND AGREED, that by seeking the instant relief, ZF
TRW AH is not waiving any of its rights or defenses, including its challenge to personal

jurisdiction in New York.

Dated: October 30, 2017
Purchase, New York

 

 

AMoRoso & AssocIATEs, P.C. LITTLEToN PARK JoYCE UGHETTA & KELLY LLP
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Tel.: (212) 709-8031 Tel.: (914) 417-3400
Attorneysfor Plaintijj'Kimberly Godoy Attorneys for Defendant ZF TRW Automotl`ve
Holdings Corp.
SO ORDERED
by
3 Magistrate Judge Steven 15 Locke

 

:s7 STEVEN I. LOCKE

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